
126 B.R. 348 (1990)
In re Robert Leroy VICKERS and Betty Jean Vickers, Debtors.
J. Kevin CHECKETT, Trustee in Bankruptcy, Appellant,
v.
Robert Leroy VICKERS and Betty Jean Vickers, Appellees.
Bankruptcy No. 90-30089-SW, Civ. No. 90-5028-CV-SW-1.
United States District Court, W.D. Missouri, Southwestern Division.
December 5, 1990.
John R. Stonitsch, Kansas City, Mo., for appellant.
W. Henry Johnson, Neosho, Mo., for debtors.

ORDER
WHIPPLE, District Judge.
Before the court is the Trustee's appeal of Bankruptcy Judge Arthur B. Federman's opinion dated July 5, 1990, wherein Judge Federman denied the Trustee's objection to the debtors' exemption. 116 B.R. 149. Specifically, Judge Federman held that debtor Robert Leroy Vickers could exempt his pension benefits from the bankruptcy estate to the extent reasonably necessary to support the debtor and his dependents. The parties agreed that the pension benefits at issue were reasonably necessary to support the debtors. The only point of contention was whether ERISA pre-empted the debtors' right to claim this exemption. The bankruptcy court found that it did not.
For the reasons aptly stated in Judge Federman's opinion, the court affirms the bankruptcy court's order. Considering the well-reasoned opinion of the bankruptcy court, the court finds it unnecessary to "reinvent the wheel." Accordingly, the bankruptcy court's decision (dated July 5, 1990) is incorporated into this order.
IT IS SO ORDERED.
